[1] The facts in this case are identical with those in the case of Carr v. Kingsbury, (Civ. No. 186) ante, p. 165 [295 P. 586], except the description of the property upon which appellant has made his location. The decision in the Carr case has this day been filed. The questions of law involved in the instant case are identical with those in the Carr case, therefore, for the reasons given in the case of Carr v.Kingsbury, the judgment in this case is affirmed.
Barnard, P.J., and Warmer, J., pro tem., concurred.
A petition for a rehearing of this cause was denied by the District Court of Appeal on February 11, 1931, and a petition by appellant to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on March 16, 1931.